   Case: 1:20-cv-02930 Document #: 39 Filed: 07/02/20 Page 1 of 2 PageID #:11265




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


DECKERS OUTDOOR CORPORATION,
                                                    Case No. 20-cv-02930
                       Plaintiff,
                                                    Judge Thomas M. Durkin
       v.
                                                    Magistrate Judge Jeffrey Cole
0ESHOP-2014, et al.,

                       Defendants.


                    NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Deckers

Outdoor Corporation (“Plaintiff”) hereby dismiss this action with prejudice as to the following

Defendants:

               Defendant Name                                       Line No.
                 AERUILBV                                              44
                bihan0465296                                           60
                 Brodey Ryan                                           64
                 HeersiTrade                                          118
                   HHCHEN                                             122
                  James Moo                                           137
                   John Rodr                                          152
                   lihai store                                        170
                 mugua store                                          196
                 qixie794510                                          213
                Sunshine 007                                          240
                 tibetan wolf                                         248
                 UntilUlouve                                          258
               worktouyoubiege                                        271




                                              1
   Case: 1:20-cv-02930 Document #: 39 Filed: 07/02/20 Page 2 of 2 PageID #:11266




Dated this 2nd day of July 2020.      Respectfully submitted,


                                      /s/ RiKaleigh C. Johnson
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      Allyson Martin
                                      Greer, Burns & Crain, Ltd.
                                      300 South Wacker Drive, Suite 2500
                                      Chicago, Illinois 60606
                                      312.360.0080 / 312.360.9315 (facsimile)
                                      aziegler@gbc.law
                                      jgaudio@gbc.law
                                      rjohnson@gbc.law

                                      Counsel for Plaintiff Deckers Outdoor Corporation




                                         2
